           Case 1:20-cv-01176-LY-SH Document 6 Filed 01/28/21 Page 1 of 5




                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

JOHNNY SATURN                             §
                               Plaintiff, §
vs.                                       §                      No. 1:2020CV01176
                                          §
AUSTIN BERGSTROM INTERNATIONAL §
AIRPORT (A.B.I.A.), ET AL.                §
                           Defendants. §

      DEFENDANT, TARGET CORPORATION’S ANSWER AND AFFIRMATIVE DEFENSE

TO THE HONORABLE JAMES HOWLIN, UNITED STATES DISTRICT JUDGE:

         COMES NOW, Defendant Target Corporation, hereinafter “Target”, in the above-styled

and numbered cause, and file this its Answer and Affirmative Defense; and in support thereof

would show the following:

                                                  I.

                                               Parties

1. Target lacks sufficient knowledge or information to form a belief as to the truth of the

    allegations in paragraph 1, and therefore denies them.

2. The allegations of paragraph 2 are not directed to Target, and therefore no answer is required.

    To the extent a response is required, Target is without knowledge or information sufficient to

    form a belief as to the truth of the allegations of paragraph 2, and therefore denies them.

                                                  II.

                                            Jurisdiction

3. Target denies that Subject Matter Jurisdiction is proper in the Western District of Texas.

    Plaintiff Johnny Saturn, hereinafter “Saturn”, alleges diversity jurisdiction in paragraph 3 of his

    Second Complaint. Plaintiff fails to meet the complete diversity requirement under 28 U.S.

    Code § 1332(a), as Plaintiff’ shares citizenship in Texas with Defendants Austin Bergstrom

    International and The University of Texas, to name a few.


                                                  1
1300-041/Target – Ans & Aff Defense
           Case 1:20-cv-01176-LY-SH Document 6 Filed 01/28/21 Page 2 of 5



4. Target admits that it has transacted business in the State of Texas and the Western District of

    Texas. Target admits that its website can be accessed in the State of Texas and the Western

    District of Texas. Plaintiff alleges venue is proper under 28 U.S. Code § 1391(b)(2); stating a

    substantial part of the events or omissions giving rise to the claims occurred in the Western

    District of Texas. Target lacks sufficient information regarding the specific nature of Plaintiff

    Johnny Saturn’s allegations of Defamation, Invasion of Privacy, Conspiracy, False Light, and

    Libel occurred in the Western District of Texas, and Target cannot admit or deny if venue is

    proper, therefore Target denies.

                                                 III.

                                         General Allegations

5. Target lacks sufficient information regarding the specific nature of Saturn’s allegations of

    Defamation and Slander in paragraph 109, and therefore, on this basis, denies that Target

    participated in any actionable conduct that Saturn is entitled to any relief therefrom. To the

    extent any remaining allegations of paragraph 109 are directed at Target, they are denied. To

    the extent the allegations of paragraph 109 are directed to other defendants, Target lacks

    sufficient information to admit or deny the allegations and therefore denies them.

6. Target lacks sufficient information regarding the specific nature of Saturn’s allegations of

    Defamation, Invasion of Privacy, Conspiracy, False Light, and Libel, and therefore, on this

    basis, denies that Target participated in any actionable conduct and that Saturn is entitled to

    any relief therefrom. To the extent any remaining allegations of paragraphs 5-120 are directed

    at Target, they are denied. To the extent the allegations of paragraph 5-120 are directed to

    other defendants, Target lacks sufficient information to admit or deny the allegations and

    therefore denies them.

                                                 IV.

                           Count 1: Defamation—Libel, Libel Per Se, Slander

7. Target incorporates its answers to paragraphs 1 through 6, as if set forth fully herein.

                                                  2
1300-041/Target – Ans & Aff Defense
           Case 1:20-cv-01176-LY-SH Document 6 Filed 01/28/21 Page 3 of 5



8. Target lacks sufficient information regarding the specific nature of Saturn’s allegations of

    Defamation, Libel, Libel Per Se, and Slander and therefore, on this basis, denies that Target

    participated in any actionable conduct and that Saturn is entitled to any relief therefrom. To

    the extent any remaining allegations of paragraphs 121-130 are directed at Target, they are

    denied. To the extent the allegations of paragraph 121-130 are directed to other defendants,

    Target lacks sufficient information to admit or deny the allegations and therefore denies them.

                                                  V.

                       Count 2: Invasion of Privacy—False Light & Conspiracy

9. Target incorporates its answers to paragraphs 1 through 9 as if set forth fully herein.

10. Target lacks sufficient information regarding the specific nature of Saturn’s allegations of

    Invasion of Privacy, Conspiracy, and False Light, and therefore, on this basis, denies that

    Target participated in any actionable conduct and that Saturn is entitled to any relief therefrom.

    To the extent any remaining allegations of paragraphs 131-138 are directed at Target, they

    are denied. To the extent the allegations of paragraph 131-138 are directed to other

    defendants, Target lacks sufficient information to admit or deny the allegations and therefore

    denies them.

                                                  VI.

                                          Prayer for Relief

11. Target denies that Saturn is entitled to any of the requested relief and denies any allegations

    in paragraphs 139 of its prayer for relief.

                                                  VII.

                                              Defenses

12. Target alleges and asserts the following defenses. In addition to the defenses described below

    and subject to the responses above, Target specifically reserves all rights to allege affirmative

    defenses that become known through the course of this litigation.



                                                   3
1300-041/Target – Ans & Aff Defense
           Case 1:20-cv-01176-LY-SH Document 6 Filed 01/28/21 Page 4 of 5



13. Saturn’s Complaint lacks subject-matter jurisdiction over the claims because Saturn shares

    citizenship with Austin Bergstrom Airport and The University of Texas, thereby failing to meet

    complete diversity under 28 U.S. Code § 1332(a).

14. Saturn’s Complaints fails to state a claim upon which relief can be granted, including but not

    limited to, Saturn’s Second Amended Complaint in that it fails to meet the standard for

    pleading set by the Supreme Court in Ashcroft v. Iqbal, 129 S.Ct. 1937 (2009) and Bell Atlantic

    Corp. v. Twombly 550 U.S. 544 (2007), as argued in Target’s 12(b)(6) Motion to Dismiss. See

    Dkt.5.

                                                VIII.

                                             Conclusion

         WHEREFORE, premises considered, Defendant requests that upon final trial that Plaintiff

takes nothing by way of his suit, and such other and further relief, at law or in equity, which

Defendant is justly entitled to receive.

                                              Respectfully Submitted,

                                              CLARK & CLARK
                                              A Division of Clark Legal Services, PLLC

                                              /s/ Deborah G. Clark
                                       By:    ______________________________
                                              Deborah G. Clark
                                              State Bar No. 04276550
                                              deborah@clarkandclarklaw.com
                                              3624 North Hills Drive, Suite 205-A
                                              Austin, Texas 78731
                                              (512) 241-1800 Telephone
                                              (512) 241-1760 Fax
                                              ATTORNEYS FOR DEFENDANT,
                                              TARGET CORPORATION




                                                 4
1300-041/Target – Ans & Aff Defense
           Case 1:20-cv-01176-LY-SH Document 6 Filed 01/28/21 Page 5 of 5



                                      CERTIFICATE OF SERVICE

      I hereby certify that on the 28th day of January 2021, I electronically submitted the foregoing
document with the Clerk of the Court for the U.S. District Court, Western District of Texas, using the
CM/ECF system, which will send notification of such filing to the following:

 First Class Mail &                               Ruben Rodriguez Sr.
 CMRRR #7020 1810 0002 2342 3173                  4301 West William Canon Drive, Suite B150236
 Johnny Saturn                                    Austin, Texas 78745
 701 West 28th Street, Apt. 513A                  Phone: (512) 707-7190
 Austin, Texas 78705                              Email:     rubenrodriguez@centraltexaslaw.com
 Phone: (512) 506-0695                            “LAWYER FRIEND FOR THE PLAINTIFF”
 Email:    johnny.saturn6@gmail.com
 PLAINTIFF PRO SE




                                                  5
1300-041/Target – Ans & Aff Defense
